Case No. 1:08-cv-01736-CMA-MJW Document 1-2 filed 08/14/08 USDC Colorado pgiof1

Court Nawe: U5. District Court, Colorad
Division: 1

Receipt Numbers COXBi2209

Cashier ID:

Transaction Date: 48/14/2688
Payer Name: DAVID LARSON

CIVIL FILING FEE
For: DAVID LARSDH
Amount: $358, Bb

CREDIT CARD
Art Tendered: §350.08

Total Dues $250.88
Total Tendered: $358.88
Change Amt: $9.68

@8-£Y~1736

A fee of $45.68 will be assessed on
any returned check.
